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                                                                                         Pg 1 of 18
Fill in this information to identify the case

United States Bankruptcy Court for the:

Southern                      District of       New York
                                                (State)
Case number (If known):                                              Chapter      11

                                                                                                                                                          ☐ Check if this is
                                                                                                                                                          an amended filing

    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        04/16

    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

    1.   Debtor’s name                                    Sears, Roebuck and Co.

                                             
    2.   All other names debtor used                      See Schedule 1
         in the last 8 years

         Include any assumed names, trade
         names, and doing business as
         names


 
    3.   Debtor’s federal Employer
         Identification Number (EIN)                      XX-XXXXXXX

 
    4.   Debtor’s      Principal place of business                                                               Mailing address, if different from principal place of business
         address
                       3333                        Beverly Road
                       Number                      Street                                                        Number                      Street



                                                                                                                 P.O. Box


                       Hoffman Estates                    Illinois          60179
                       City                               State             ZIP Code                             City                        State           ZIP Code
                                                                                                                 Location of principal assets, if different from principal place
                                                                                                                 of business

                       Cook County
                       County
                                                                                                                 Number                      Street




                                                                                                                 City                        State           ZIP Code


    5.   Debtor’s website (URL)                           www.searsholdings.com

 
    6.   Type of debtor                                   ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                          ☐ Partnership (excluding LLP)
                                                          ☐ Other. Specify:




Official Form 201                                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             Page 1

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Debtor          18-23537-rdd      Doc 1
                 Sears, Roebuck and Co.
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                 Name                                                         Pg 2 of 18
 
                                               A. Check one:
    7.   Describe debtor’s business
                                               ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                               ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               ☒   None of the above Retail


                                               B. Check all that apply:
                                               ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   SIC Code 5311 (NAICS Code 4521)
                                            
                                               Check one:
    8.   Under which chapter of the
         Bankruptcy Code is the                ☐ Chapter 7
         debtor filing?                        ☐ Chapter 9
                                               ☒ Chapter 11. Check all that apply:
                                                                ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                  on 4/01/19 and every 3 years after that).
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return or
                                                                  if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                  1116(1)(B).
                                                                ☐ A plan is being filed with this petition.
                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                  the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                  Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                  Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                  with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                  1934 Rule 12b-2.
                                               ☐ Chapter 12
 
    9.   Were prior bankruptcy cases           ☒ No
         filed by or against the debtor
                                               ☐ Yes        District                       When                          Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                                  MM/ DD/ YYYY
         separate list.
                                                            District                       When                          Case number

                                                                                                         MM / DD/ YYYY
                                            
 
    10. Are any bankruptcy cases               ☐ No
        pending or being filed by a
        business partner or an                 ☒ Yes        Debtor         See Schedule 2                                Relationship   See Schedule 2
        affiliate of the debtor?                            District       See Schedule 2                                When           See Schedule 2
         List all cases. If more than 1,
                                                            Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.


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                 Name                                                              Pg 3 of 18
 
                                             
        11. Why is the case filed in this       Check all that apply:
            district?
                                                ☒      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                       immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                ☐      A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                                 

    12. Does the debtor own or have
                                                ☒ No
        possession of any real
        property or personal property           ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        that needs immediate                                 Why does the property need immediate attention? (Check all that apply.)
        attention?                                          ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                                  health or safety.
                                                                  What is the hazard?
                                                            ☐     It needs to be physically secured or protected from the weather.
                                                            ☐     It includes perishable goods or assets that could quickly deteriorate or lose value
                                                                  without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                                  securities-related assets or other options).


                                                             ☐ Other
 
                                                            Where is the property?
                                                                                               Number                 Street


                                                                                               City                              State               ZIP Code
                                                            Is the property insured?
                                                                                                ☐ No
                                                                                               ☐ Yes. Insurance agency
                                                                                                          Contact Name
                                                                                                          Phone




                  Statistical and administrative information 



        13. Debtor’s estimation of          Check one:
            available funds                 ☒       Funds will be available for distribution to unsecured creditors.
                                            ☐       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

        14. Estimated number of             
                                            ☐       1-49                                      ☐       1,000-5,000                        ☐   25,001-50,000
            creditors                       ☐       50-99                                     ☐       5,001-10,000                       ☐   50,001-100,000
            (on a consolidated basis)       ☐       100-199                                   ☐       10,001-25,000                      ☒   More than 100,000
                                            ☐       200-999

        15. Estimated assets                ☐       $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
            (on a consolidated basis)       ☐       $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                            ☐       $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                              ☐       $50,000,001-$100 million
                                            ☐       $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                              ☐       $100,000,001-$500 million

        16. Estimated liabilities           ☐       $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
            (on a consolidated basis)       ☐       $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
                                            ☐       $100,001-$500,000                                                                    ☒   $10,000,000,001-$50 billion
                                                                                              ☐       $50,000,001-$100 million
                                            ☐       $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                              ☐       $100,000,001-$500 million

Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               Page 3

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                 Request for Relief, Declaration, and Signatures 


    WARNING   Bankruptcy fraud is a serious crime.  Making a false statement in connection with a bankruptcy case can result in fines up to 
               $500,000 or imprisonment for up to 20 years, or both.  18 U.S.C. §§ 152, 1341, 1519, and 3571. 

 
         17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of         petition.
             debtor
                                                 I have been authorized to file this petition on behalf of the debtor.

                                                 I have examined the information in this petition and have a reasonable belief that the information is true
                                                  and correct.
                                                  I declare under penalty of perjury that the foregoing is true and correct.

                                                      Executed on October 15, 2018
                                                                    MM / DD / YYYY

                                                                                                                  

                                                       /s/ Robert A. Riecker                                          Robert A. Riecker
                                                       Signature of authorized representative of debtor               Printed name

                                                       Chief Financial Officer                                         
                                                       Title                                                           



 

         18. Signature of attorney                 /s/ Jacqueline Marcus                                            Date    October 15, 2018
                                                  Signature of attorney for debtor                                         MM / DD / YYYY

                                                  Jacqueline Marcus
                                                    Printed Name
                                           
                                                  Weil, Gotshal & Manges LLP
                                                    Firm Name
                                           
                                                  767 Fifth Avenue
                                                    Number               Street
                                           
                                                  New York                                            New York                       10153
                                                    City                                                State                          ZIP Code
                                           

                                                  (212) 310-8000                                      jacqueline.marcus@weil.com
                                                    Contact phone                                       Email address
                                           

                                                  1867746                                             New York
                                                    Bar Number                                          State
                                           




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                                                    Schedule 1
                 All Other Names Used By the Debtor or its Affiliates in the Last 8 Years


A&E Factory Service                                        Kmart Pharmacies of Minnesota, Inc.
Accents for Less                                           Kmart Pharmacies, Inc.
American Siding & Deck, Inc.                               Kmart Properties, Inc.
American Windows & Sash, Inc.                              Kmart Stores of Indiana, Inc.
Appliance Liquidators                                      Kmart Stores of TNCP, Inc.
Austin Technology Center                                   KMI, Inc.
Bath and Kitchen Elegance                                  Koolvent Aluminum Products, Inc.
Bath and Kitchen Elegance of the Desert                    Kresge - Kmart Limited
Big Beaver of Caguas Development Corporation               Little Caesars
Big Beaver of Caguas Development Corporation II            Max Acquisition Delaware Inc.
Big Kmart                                                  McKids
Big Kmart (#3680)                                          McKids The Store
Central Wholesale Appliance Supply, Inc.                   McPhail's Appliances
Chantell Marketing                                         MetaScale Technologies India Private Limited
Circle of Beauty Inc.                                      Monark
Delver                                                     Monark Holdings Inc.
Delver.com                                                 Monark of California
Designer Depot                                             Monark Premium Appliance Co.
Eblon Technologies India Private Limited                   Monark Premium Appliance Co. of Arizona
Evoke Productions                                          Monark Premium Appliance Co. of California
FitStudio by Sears                                         MXSV, Inc.
Florida Builder Appliances, Inc.                           NTB - National Tire and Battery
Garment Rack                                               NTB-National Tire & Battery
HDC Holding Company of Delaware, Inc.                      PMB, Inc.
HO. Tampa Development Co.                                  Prairie Buck I, Inc.
HO. Tysons Office Investment Co.                           Prairie Buck II, Inc.
ILJ, Inc.                                                  Private Brands, Ltd.
JAF, Inc.                                                  Relay LLC
KC Kelley Group                                            San Diego Appliance Sales
Kenmore Direct                                             Sears
Kids Stockroom                                             Sears #1284
Kmart                                                      Sears Acquisition Corp.
Kmart Acquisition Corp.                                    Sears Auto Center
Kmart Apparel Corp.                                        Sears Auto Center #6582
Kmart Apparel Fashions Corp.                               Sears Auto Centers
Kmart Apparel Leasing Corp.                                Sears Carpet and Upholstery Care, Inc.
Kmart Apparel Service of Atlanta Corp.                     Sears Essentials
Kmart Apparel Service of Des Plaines Corp.                 Sears Grand
Kmart Apparel Service of Sunnyvale Corp.                   Sears Grand #1673
Kmart Corporation                                          Sears Holdings Management Corporation
Kmart Enterprises, Inc.                                    Sears Home Appliance Showrooms
Kmart Far East Limited                                     Sears Home Improvement Products (South), Inc.
Kmart Financing I                                          Sears Home Services
Kmart Global Sourcing Ltd.                                 Sears Home&Life
Kmart Holding Company                                      Sears Lessee Operations, LLC
Kmart Holdings, Inc.                                       Sears Logistics Services
Kmart Lessee Operations, LLC                               Sears Logistics Services, Inc.
Kmart Management Corporation                               Sears Merchandise Group
Kmart Michigan Property Services, L.L.C.                   Sears Merchandise Group, Inc.
Kmart of Amsterdam, NY Distribution Center, Inc.           Sears New York Insurance Agency
Kmart of Pennsylvania LP                                   Sears Oklahoma Insurance Agency
     
                                                    Schedule 1                                             Page 1

     
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                                                 Schedule 1
                 All Other Names Used By the Debtor or its Affiliates in the Last 8 Years
  
Sears Protection Company Inc.                             The Annexx Restaurant
Sears Protection Company, Inc.                            The Great Indoors
Sears Technology Services LLC                             Tire Property Holding, Inc.
Sears, Roebuck de Mexico, S.A. de C.V.                    Tri-Valley Crossings
Sears, Wishbook, Inc.                                     Troy CMBS Property, L.L.C.
ServiceLive Direct                                        Westar Kitchen & Bath LLC
SHMC, Inc.                                                Westar Kitchen and Bath
Shop Your Way Local, LLC                                  Westar Kitchen and Bath, LLC
shopyourway.com                                           Western Bluelight.com LLC
Sourcing and Technical Services, Inc.                     WestStar Kitchen and Bath
SRC O.P. LLC                                              WestStar Kitchen and Bath LLC
SRC Real Estate (TX), LLC                                 Continental Carpet Cleaning, Inc.
Standards of Excellence                                   Sears Carpet and Upholstery Care, Inc.
Standards of Excellence Outlet Store                      Print Procurement Company, LLC
Super K                                                   Print Production Company, LLC
Super Kmart                                               Relay LLC
SUPER KMART CENTER                                        Shop Your Way Local, LLC
Super Kmart Center                                        Sears New York Insurance Agency
Texas Bluelight.com Inc.                                  Sears Oklahoma Insurance Agency




  
                                                 Schedule 1                                               Page 2

  
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                                                    Schedule 2

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                   On the date hereof, each of the affiliated entities listed below, including the debtor
   in this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the
   United States Code in the United States Bankruptcy Court for the Southern District of New York
   (the “Court”). A motion will be filed with the Court requesting that the chapter 11 cases of the
   entities listed below be consolidated for procedural purposes only and jointly administered,
   pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the under the case
   number assigned to the chapter 11 case of Sears Holdings Corporation.

COMPANY                                              CASE         DATE FILED          DISTRICT JUDGE
                                                    NUMBER

Sears, Roebuck and Co.                         18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Holdings Corporation                     18-______( )      October 15, 2018      S.D.N.Y.     Pending
Kmart Holding Corporation                      18-______( )      October 15, 2018      S.D.N.Y.     Pending
Kmart Operations LLC                           18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Operations LLC                           18-______( )      October 15, 2018      S.D.N.Y.     Pending
ServiceLive, Inc.                              18-______( )      October 15, 2018      S.D.N.Y.     Pending
A&E Factory Service, LLC                       18-______( )      October 15, 2018      S.D.N.Y.     Pending
A&E Home Delivery, LLC                         18-______( )      October 15, 2018      S.D.N.Y.     Pending
A&E Lawn & Garden, LLC                         18-______( )      October 15, 2018      S.D.N.Y.     Pending
A&E Signature Service, LLC                     18-______( )      October 15, 2018      S.D.N.Y.     Pending
FBA Holdings Inc.                              18-______( )      October 15, 2018      S.D.N.Y.     Pending
Innovel Solutions, Inc.                        18-______( )      October 15, 2018      S.D.N.Y.     Pending
Kmart Corporation                              18-______( )      October 15, 2018      S.D.N.Y.     Pending
MaxServ, Inc.                                  18-______( )      October 15, 2018      S.D.N.Y.     Pending
Private Brands, Ltd.                           18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Development Co.                          18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Holdings Management Corporation          18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Home & Business Franchises, Inc.         18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Home Improvement Products, Inc.          18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Insurance Services, L.L.C.               18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Procurement Services, Inc.               18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Protection Company                       18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Protection Company (PR) Inc.             18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears Roebuck Acceptance Corp.                 18-______( )      October 15, 2018      S.D.N.Y.     Pending
Sears, Roebuck de Puerto Rico, Inc.            18-______( )      October 15, 2018      S.D.N.Y.     Pending


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                                                    Schedule 2

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

COMPANY                                              CASE         DATE FILED         DISTRICT JUDGE
                                                    NUMBER

SYW Relay LLC                                  18-______( )      October 15, 2018     S.D.N.Y.   Pending
Wally Labs LLC                                 18-______( )      October 15, 2018     S.D.N.Y.   Pending
Big Beaver of Florida Development, LLC         18-______( )      October 15, 2018     S.D.N.Y.   Pending
California Builder Appliances, Inc.            18-______( )      October 15, 2018     S.D.N.Y.   Pending
Florida Builder Appliances, Inc.               18-______( )      October 15, 2018     S.D.N.Y.   Pending
KBL Holding Inc.                               18-______( )      October 15, 2018     S.D.N.Y.   Pending
KLC, Inc.                                      18-______( )      October 15, 2018     S.D.N.Y.   Pending
Kmart of Michigan, Inc.                        18-______( )      October 15, 2018     S.D.N.Y.   Pending
Kmart of Washington LLC                        18-______( )      October 15, 2018     S.D.N.Y.   Pending
Kmart Stores of Illinois LLC                   18-______( )      October 15, 2018     S.D.N.Y.   Pending
Kmart Stores of Texas LLC                      18-______( )      October 15, 2018     S.D.N.Y.   Pending
MyGofer LLC                                    18-______( )      October 15, 2018     S.D.N.Y.   Pending
Sears Brands Business Unit Corporation         18-______( )      October 15, 2018     S.D.N.Y.   Pending
Sears Holdings Publishing Company, LLC         18-______( )      October 15, 2018     S.D.N.Y.   Pending
Sears Protection Company (Florida), L.L.C.     18-______( )      October 15, 2018     S.D.N.Y.   Pending
SHC Desert Springs, LLC                        18-______( )      October 15, 2018     S.D.N.Y.   Pending
SOE, Inc.                                      18-______( )      October 15, 2018     S.D.N.Y.   Pending
StarWest, LLC                                  18-______( )      October 15, 2018     S.D.N.Y.   Pending
STI Merchandising, Inc.                        18-______( )      October 15, 2018     S.D.N.Y.   Pending
Troy Coolidge No. 13, LLC                      18-______( )      October 15, 2018     S.D.N.Y.   Pending
BlueLight.com, Inc.                            18-______( )      October 15, 2018     S.D.N.Y.   Pending
Sears Brands, L.L.C.                           18-______( )      October 15, 2018     S.D.N.Y.   Pending
Sears Buying Services, Inc.                    18-______( )      October 15, 2018     S.D.N.Y.   Pending
Kmart.com LLC                                  18-______( )      October 15, 2018     S.D.N.Y.   Pending
Sears Brands Management Corporation            18-______( )      October 15, 2018     S.D.N.Y.   Pending




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                                  ACTION BY
                              WRITTEN CONSENT OF
                             THE GOVERNING BODIES
                                      OF

                          KMART HOLDING CORPORATION
                              KMART OPERATIONS LLC
                               SEARS OPERATIONS LLC
                             SEARS, ROEBUCK AND CO.
                                  SERVICELIVE, INC.
                            A&E FACTORY SERVICE, LLC
                             A&E HOME DELIVERY, LLC
                             A&E LAWN & GARDEN, LLC
                           A&E SIGNATURE SERVICE, LLC
                                  FBA HOLDINGS INC.
                              INNOVEL SOLUTIONS, INC.
                                KMART CORPORATION
                                    MAXSERV, INC.
                                PRIVATE BRANDS, LTD.
                             SEARS DEVELOPMENT CO.
                 SEARS HOLDINGS MANAGEMENT CORPORATION
                    SEARS HOME & BUSINESS FRANCHISES, INC.
                   SEARS HOME IMPROVEMENT PRODUCTS, INC.
                         SEARS INSURANCE SERVICES, L.L.C.
                       SEARS PROCUREMENT SERVICES, INC.
                           SEARS PROTECTION COMPANY
                      SEARS PROTECTION COMPANY (PR), INC.
                       SEARS ROEBUCK ACCEPTANCE CORP.
                     SEARS, ROEBUCK DE PUERTO RICO, INC.
                                   SYW RELAY LLC
                                   WALLY LABS LLC
                  BIG BEAVER OF FLORIDA DEVELOPMENT, LLC
                     CALIFORNIA BUILDER APPLIANCES, INC.
                        FLORIDA BUILDER APPLIANCES, INC.
                                  KBL HOLDING INC.
                                       KLC, INC.
                             KMART OF MICHIGAN, INC.
                           KMART OF WASHINGTON LLC
                          KMART STORES OF ILLINOIS LLC
                           KMART STORES OF TEXAS LLC
                                     MYGOFER LLC
                  SEARS BRANDS BUSINESS UNIT CORPORATION
                  SEARS HOLDINGS PUBLISHING COMPANY, LLC
                 SEARS PROTECTION COMPANY (FLORIDA), L.L.C.
                             SHC DESERT SPRINGS, LLC
                                       SOE, INC.
                                    STARWEST, LLC
                             STI MERCHANDISING, INC.
                            TROY COOLIDGE NO. 13, LLC
                                BLUELIGHT.COM, INC.
                                 SEARS BRANDS, L.L.C.
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                                SEARS BUYING SERVICES, INC.
                                     KMART.COM LLC
                         SEARS BRANDS MANAGEMENT CORPORATION

                                               October 14, 2018

                  The required members of the board of directors, the required managers, the sole member,
the sole manager, or the sole director, as the case may be (as applicable, the “Governing Body”), of each
of the entities referenced above (each, a “Company” and collectively, the “Companies”), do hereby
consent to, adopt, and approve, by written consent in accordance with, as applicable, Section 141(f) of the
Delaware General Corporation Law, Section 18-302(d) of the Delaware Limited Liability Company Act,
Section 708(b) of the New York Business Corporation Law, Section 525 of the Michigan Business
Corporation Act, Section 608.4231 of the Florida Limited Liability Company Act, Section 15-1(d) of the
Illinois Limited Liability Company Act, the Washington Limited Liability Company Act, Section 6.201
of the Texas Business Organizations Code, Section 1727(b) of the Pennsylvania Business Corporation
Law, and Section 8.45 of the Illinois Business Corporation Act of 1983 the following resolutions and
each and every action effected thereby.

                 This consent may be executed in two or more counterparts, each of which shall constitute
an original, and all of which shall constitute one and the same instrument.

                 WHEREAS, the Governing Body of each Company has reviewed and had the
opportunity to ask questions about the materials presented by the management and the legal and financial
advisors of such Company regarding the liabilities and liquidity of such Company, the strategic
alternatives available to it and the impact of the foregoing on such Company’s businesses; and

                  WHEREAS, the Governing Body of each Company has had the opportunity to consult
with the management and the legal and financial advisors of such Company to fully consider each of the
strategic alternatives available to such Company;

                  WHEREAS, the board of directors (the “Holdings Board”) of Sears Holdings
Corporation (“Holdings”) has determined that it is desirable and in the best interests of Holdings, its
creditors, and other parties in interest, for Holdings to file a petition seeking relief under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and to enter into, obtain loans
and consummate the transactions under the DIP ABL Financing Documents, as a Borrower (in each case
as defined below); and

                 WHEREAS, the Restructuring Committee of the Holdings Board has determined that it is
desirable and in the best interests of Holdings, its creditors, and other parties in interest, to enter into,
obtain loans and consummate the transactions under the Junior DIP Financing Documents, as a Borrower
(in each case as defined below); and

                 WHEREAS, each Governing Body desires to approve the following resolutions.

Commencement of Chapter 11 Case

                  NOW, THEREFORE, BE IT RESOLVED, that the Governing Body has determined,
after consultation with the management and the legal and financial advisors of such Company, that it is
desirable and in the best interests of such Company, its creditors, and other parties in interest that a
petition be filed by such Company seeking relief under the Bankruptcy Code; and be it further




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                  RESOLVED, that any officer of any of such Company or the sole manager of such
Company, as applicable (each, an “Authorized Person”), in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, to negotiate, execute,
deliver, file and perform, in the name and on behalf of such Company, and under its corporate seal or
otherwise, all petitions, schedules, motions, lists, applications, pleadings, orders and other documents (the
“Chapter 11 Filings”) in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) (with such changes therein and additions thereto as any such Authorized Person may
deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11 Filings by
any such Authorized Person with any changes thereto to be conclusive evidence that any such Authorized
Person deemed such changes to meet such standard); and be it further

                  RESOLVED, that each Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name and on
behalf of the applicable Company, to take and perform any and all further acts and deeds that such
Authorized Person deems necessary, appropriate, or desirable in connection with such Company’s chapter
11 case (each, a “Chapter 11 Case”) or the Chapter 11 Filings, including, without limitation, (i) the
payment of fees, expenses and taxes such Authorized Person deems necessary, appropriate, or desirable,
and (ii) negotiating, executing, delivering, performing and filing any and all additional documents,
schedules, statements, lists, papers, agreements, certificates and/or instruments (or any amendments or
modifications thereto) in connection with, or in furtherance of, such Company’s Chapter 11 Case with a
view to the successful prosecution of such Chapter 11 Case (such acts to be conclusive evidence that such
Authorized Person deemed the same to meet such standard); and be it further

Debtor-in-Possession Financing

                  RESOLVED, that in connection with the Chapter 11 Case, it is in the best interest of
(i) in the case of each of Sears Roebuck Acceptance Corp. (“SRAC”) and Kmart Corporation (“Kmart”)
to enter into and obtain loans and (ii) in the case of the Guarantors (as defined in the DIP ABL Term
Sheet (as defined below)) to guarantee such loans, and consummate the transactions under that certain
senior secured superpriority priming debtor-in-possession asset-based credit facility in an aggregate
principal amount of $1.875 billion (the “DIP ABL Loan”), representing an increase of $300 million from
the existing facility, on terms set forth on the term sheet attached hereto as Exhibit A (the “DIP ABL
Term Sheet”). The DIP ABL Loan, will be evidenced by such Term Sheet, and upon entry of the final
order approving, among other things, such Company's entry into the DIP ABL Loan, a senior secured
superpriority priming debtor-in-possession asset-based credit agreement, in each case to be entered into
by and among, Sears Roebuck Acceptance Corp. (“SRAC”) and Kmart Corporation (“Kmart”, together
with SRAC, the “DIP ABL Borrowers”), and Holdings and the other Loan Parties (as defined in the DIP
ABL Term Sheet (other than the DIP ABL Borrowers) as guarantors (the “Guarantors”), the lenders from
time to time party thereto (the “DIP ABL Lenders”), and Bank of America, N.A., as administrative agent
for the DIP ABL Lenders (in such capacity and together with its successors, the “DIP ABL Agent”)
(together with the Exhibits and Schedules annexed thereto, the “DIP ABL Loan Credit Agreement” and
together with the DIP Loan Documents (as defined in the Dip ABL Loan Term Sheet), the “DIP ABL
Financing Documents”), in each case subject to approval of the United States Bankruptcy Court for the
Southern District of New York which is necessary and appropriate to the conduct of the business of such
Company; and be it further

                 RESOLVED, that the form, terms and provisions of (i) the DIP ABL Term Sheet,
including the use of proceeds to provide liquidity for such Company throughout the Chapter 11 Case,
substantially consistent with the DIP ABL Term Sheet, which has been presented to the Board and (ii)
any and all of the other documents, agreements (including the DIP ABL Credit Agreement and the other
DIP Loan Documents), including, without limitation, any guarantee and security agreement, letters,




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notices, certificates, documents and instruments authorized, executed, delivered, reaffirmed, verified
and/or filed in connection with the DIP ABL Loan and the performance of obligations thereunder,
including the borrowings, guarantees, granting of security and pledging of collateral contemplated
thereunder, are hereby, in all respects confirmed, ratified and approved; and be it further

                RESOLVED, that any Authorized Person is hereby authorized, empowered, and directed,
in the name and on behalf of such Company, to cause such Company to negotiate and approve the terms,
provisions of and performance of, and to prepare, execute and deliver the DIP ABL Term Sheet and DIP
ABL Credit Agreement, in the name and on behalf of such Company under its corporate seal or
otherwise, and such other documents, agreements, instruments and certificates as may be required by the
DIP ABL Agent or required by the DIP ABL Term Sheet, including the DIP ABL Credit Agreement; and
be it further

                 RESOLVED, that such Company be, and hereby is, authorized to incur the obligations
and to undertake any and all related transactions contemplated under the DIP ABL Financing Documents
including the borrowing and reborrowing of loans, guaranteeing of obligations of the Borrowers, granting
of security thereunder and the pledging of collateral; and be it further

                  RESOLVED, that any Authorized Person is hereby authorized to grant security interests
in, and liens on, any and all property of such Company as collateral pursuant to the DIP ABL Financing
Documents to secure all of the obligations and liabilities of such Company thereunder to the respective
lenders and agents under the DIP ABL Financing Documents, and to authorize, execute, verify, file
and/or deliver to the DIP ABL Agent, on behalf of such Company, all agreements, documents and
instruments required by the respective lenders and agents under the DIP ABL Financing Documents in
connection with the foregoing; and be it further

                 RESOLVED, that any Authorized Person, in connection with the DIP Financing, be
authorized, empowered, and directed to negotiate and obtain the use of cash collateral or other similar
arrangements, including, without limitation, to enter into any guarantees and to pledge and grant liens on
and security interests in any and all property of such Company as may be contemplated by or required
under the terms of any cash collateral agreements or other similar arrangements entered into in connection
with the DIP Financing, in such amounts as is reasonably necessary for the continuing conduct of the
affairs of such Company in the Chapter 11 Case and any of such Company's affiliates who may also,
concurrently with such Company's petition, file for relief under the Bankruptcy Code; and be it further

                  RESOLVED, that any Authorized Person is hereby authorized, empowered, and directed,
in the name and on behalf of such Company, to take all such further actions including, without limitation,
to pay all fees and expenses, in accordance with the terms of the DIP ABL Financing Documents, which
shall, in such Authorized Person’s sole judgment, be necessary, proper or advisable to perform such
Company’s obligations under or in connection with the DIP ABL Term Sheet, DIP ABL Credit
Agreement or any of the other DIP ABL Financing Documents and the transactions contemplated therein
and to carry out fully the intent of the foregoing resolutions; and be it further

                 RESOLVED, that any Authorized Person is hereby authorized, empowered, and directed,
in the name and on behalf of such Company, to execute and deliver any amendments, supplements,
modifications, renewals, replacements, consolidations, substitutions and extensions of the DIP ABL Term
Sheet, the DIP ABL Credit Agreement and/or any of the DIP ABL Financing Documents, in each case
consistent with the DIP ABL Financing Documents, which shall, in such Authorized Person’s sole
judgment, be necessary, proper or advisable; and be it further




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Retention of Advisors

                RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth
Avenue, New York, New York 10153, is hereby retained as attorneys for such Company in the Chapter
11 Case, subject to Bankruptcy Court approval; and be it further

                 RESOLVED, that the firm of M-III Advisory Partners, LP, located at 30 Rockefeller
Plaza, New York, NY 10112, is hereby retained as financial advisor for such Company in the Chapter 11
Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the firm of Lazard Freres & Company, located at 30 Rockefeller Plaza,
New York, NY 10112, is hereby retained as investment banker for such Company in the Chapter 11 Case,
subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the firm of DLA Piper LLP, located at 500 Eighth Street, NW,
Washington, DC 20004, is hereby retained to provide such Company with additional real estate and
advisory services in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that the firm of Prime Clerk, located at 830 Third Avenue, 9th Floor, New
York, NY 10022, is hereby retained as claims, noticing and solicitation agent for such Company in the
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                 RESOLVED, that, with respect to each Company, each Authorized Person, in each case,
acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with full power of
delegation, in the name and on behalf of such Company, to negotiate, execute, deliver, file and perform
any agreement, document or certificate and to take and perform any and all further acts and deeds
(including, without limitation, (i) the payment of any consideration and (ii) the payment of fees, expenses
and taxes) that such Authorized Person deems necessary, proper, or desirable in connection with such
Company’s Chapter 11 Case, including, without limitation, negotiating, executing, delivering and
performing any and all documents, agreements, certificates and/or instruments (or any amendments or
modifications thereto) in connection with the engagement of professionals contemplated by these
resolutions, with a view to the successful prosecution of the Chapter 11 Case; and be it further

Ratification

                 RESOLVED, that any and all past actions heretofore taken by any Authorized Officer,
any director, or any member of each Company in the name and on behalf of the applicable Company in
furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified, confirmed, and
approved in all respects.

                  RESOLVED, that, with respect to each Company, each Authorized Person, any one of
whom may act without the joinder of any of the others, hereby is authorized in the name and on behalf of
such Company, to take all such further actions, including, but not limited to, (i) the negotiation of such
additional agreements, amendments, modifications, supplements, reports, documents, instruments,
applications, notes or certificates not now known but which may be required, (ii) the execution, delivery
and filing (if applicable) of any of the foregoing and (iii) the payment of all fees, consent payments, taxes
and other expenses as any such Authorized Person, in his or her sole discretion, may approve or deem
necessary, appropriate or desirable in order to carry out the intent and accomplish the purposes of the
foregoing resolutions and the transactions contemplated thereby, all of such actions, executions,
deliveries, filings and payments to be conclusive evidence of such approval or that such Authorized
Person deemed the same to be so necessary, appropriate or desirable; and be it further




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                  RESOLVED, that any and all past actions heretofore taken by any Authorized Person,
any director, or any member of any Company in the name and on behalf of such Company in furtherance
of any or all of the preceding resolutions be, and the same hereby are, ratified, confirmed, and approved in
all respects.

                                        [Signature Page Follows]




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     Fill in this information to identify the case:

     Debtor name: Sears, Roebuck and Co.
     United States Bankruptcy Court for the: Southern District of New York
                                                                                   (State)
     Case number (If known):

                                                                                                                                                               ☐ Check if this is an
                                                                                                                                                                    amended filing


     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
     Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                                 12/15

     A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
     disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
     largest unsecured claims.
Name of creditor and complete mailing                Name, telephone number, and              Nature of the        Indicate if    Amount of unsecured claim 
address, including zip code                          email address of creditor contact          claim (for          claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                             example, trade       contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                               debts, bank       unliquidated,    claim amount and deduction for value of collateral or 
                                                                                                  loans,          or disputed     setoff to calculate unsecured claim. 
                                                                                              professional 
                                                                                              services, and 
                                                                                              government 
                                                                                                contracts) 
                                                                                                                                  Total claim, if     Deduction for      Unsecured  claim 
                                                                                                                                  partially           value of 
                                                                                                                                  secured             collateral or 
                                                                                                                                                      setoff 
1        The Pension Benefit Guaranty Corporation    Attn.:  Office of the Chief Counsel     Pension Benefits                                                                      Unknown 
         Attn.:  Office of the Chief Counsel         Phone:  202‐326‐4110 
         1200 K Street, N.W., Suite 300              Facsimile:  202‐326‐4114 
         Washington District of Columbia 20005       Email: 

2        SRAC Medium Term Notes                      Attn.:  President or General Counsel      Unsecured                                                                  $2,311,800,000.00 
         c/o BNY Midwest Trust Company               Phone:  312‐294‐5200                        Notes 
         Attn.:  President or General Counsel        Facsimile:   
         101 Barclay St., Floor 8W,                  Email: 
         New York, New York 10286  
3        Holdings Unsecured Notes (8.00%)            Attn.:  President or General Counsel      Unsecured                                                                    $411,000,000.00 
         c/o Computershare Trust Company, N.A.       Phone:  781‐575‐2000                        Notes 
         Attn.:  President or General Counsel        Facsimile:  781‐575‐4210 
         250 Royal Street                            Email: 
         Canton, Massachusetts 02021  
4        Holdings Unsecured PIK Notes (8.00%)        Attn.:  President or General Counsel      Unsecured                                                                    $222,600,000.00 
         c/o Computershare Trust Company, N.A.       Phone:  781‐575‐2000                        Notes 
         Attn.:  President or General Counsel        Facsimile:  781‐575‐4210 
         250 Royal Street                            Email: 
         Canton, Massachusetts 02021 
5        SRAC Unsecured Notes                        Attn.:  Corporate Trust Department        Unsecured                                                                    $185,600,000.00 
         c/o The Chase Manhattan Bank, N.A.          Phone:                                      Notes 
         Attn.:  Corporate Trust Department          Facsimile:   
         4 Chase MetroTech Center, 3rd Floor         Email: 
         Brooklyn, New York 11245 
6        SRAC Unsecured PIK Notes                    Attn.:  President or General Counsel      Unsecured                                                                    $107,900,000.00 
         c/o BNY Midwest Trust Company               Phone:  312‐294‐5200                        Notes 
         Attn.:  President or General Counsel        Facsimile:   
         101 Barclay Street, Floor 8W                Email: 
         New York, New York 10286  




     Official Form 204                               List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                             Page 1

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                                                                                      Pg 16 of 18 Case number (if known)
             Debtor                    Sears, Roebuck and Co.
                                       Name
      
Name of creditor and complete mailing                Name, telephone number, and              Nature of the      Indicate if    Amount of unsecured claim 
address, including zip code                          email address of creditor contact          claim (for        claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                             example, trade     contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                               debts, bank     unliquidated,    claim amount and deduction for value of collateral or 
                                                                                                  loans,        or disputed     setoff to calculate unsecured claim. 
                                                                                              professional 
                                                                                              services, and 
                                                                                              government 
                                                                                                contracts) 
                                                                                                                                Total claim, if     Deduction for      Unsecured  claim 
                                                                                                                                partially           value of 
                                                                                                                                secured             collateral or 
                                                                                                                                                    setoff 
7        Whirlpool Corporation                       Attn.:  President or General Counsel    Trade Payable                                                                 $23,409,729.00 
         Attn.:  President or General Counsel        Phone:  269‐923‐5000 
         2000 North M‐63                             Facsimile:  269‐923‐3722 
         Benton Harbor, Michigan 49022               Email: 

8        Frigidaire Company                          Attn.:  President or General Counsel    Trade Payable                                                                 $18,617,186.00 
         c/o Electrolux                              Phone:  786‐388‐6400 
         Attn.:  President or General Counsel        Facsimile:   
         P.O. Box 2638                               Email: 
         Carol Stream, Illinois 60132‐2638 
9        Winia Daewoo Electronics America            Attn.:  President or General Counsel    Trade Payable                                                                 $15,180,156.00 
         Attn.:  President or General Counsel        Phone:  877‐393‐7823 
         65 Challenger Road, Suite 360               Facsimile:   
         Ridgefield Park, New Jersey  07660          Email: 

10       Cardinal Health                             Attn.:  President or General Counsel    Trade Payable                                                                 $13,877,913.00 
         Attn.:  President or General Counsel        Phone:  614‐757‐5000 
         7000 Cardinal Place                         Facsimile:   
         Dublin, Ohio 43017                          Email: 

11       Icon Health and Fitness Inc.                Attn.:  President or General Counsel    Trade Payable                                                                 $12,102,200.00 
         Attn.:  President or General Counsel        Phone:  877‐993‐7999 
         1500 South 1000 West                        Facsimile:  435‐750‐5238 
         Logan, Utah 84321                           Email: 

12       HK Greatstar Int'l Co. Ltd.                 Attn.:  President or General Counsel    Trade Payable                                                                 $10,354,683.00 
         Attn.:  President or General Counsel        Phone:  852 2110 4002 
         Rm 35, 4/F., Po Yip Building                Facsimile:  852 3585 6687 
         23 Hing Yip Street, Kwun Tong,              Email: 
         Kowloon, Hong Kong 
13       Samsung Electronics America HA              Attn.:  President or General Counsel    Trade Payable                                                                  $8,054,247.00 
         Attn.:  President or General Counsel        Phone:  201‐229‐4000 
         85 Challenger Road, 7th Floor               Facsimile:  201‐229‐4029 
         Ridgefield Park, New Jersey 07660           Email: 

14       Apex Tool International LLC                 Attn.:  President or General Counsel    Trade Payable                                                                  $6,605,582.00 
         Attn.:  President or General Counsel        Phone:  410‐773‐7800 
         910 Ridgebrook Road, Suite 200              Facsimile:  800‐234‐0472 
         Sparks, Maryland 21152                      Email: 

15       Black & Decker US Inc.                      Attn.:  President or General Counsel    Trade Payable                                                                  $5,893,734.00 
         c/o Stanley Black & Decker                  Phone:   
         Attn.:  President or General Counsel        Facsimile:   
         1000 Stanley Drive                          Email: 
         New Britain, Connecticut 06053 
16       Eastern Prime Textile Limited               Attn.:  President or General Counsel    Trade Payable                                                                  $5,761,992.00 
         Attn.:  President or General Counsel        Phone:  852 21918293 
         Unit F10/F, King Win FTY Building           Facsimile:  852 27939353 
         No. 65‐67 King Yip Street, Kwun Tong,       Email:  
         Kowloon, Hong Kong 
17       Winners Industry Company Limited            Attn.:  President or General Counsel    Trade Payable                                                                  $5,359,201.00 
         Attn.:  President or General Counsel        Phone:  86 769 83213199 
         Unit A, Wah Lung Building                   Facsimile:  86 769 83213177 
         49‐53 Wang Lung Street,Tsuen wan,           Email: 
         New Territories, Hong Kong 




     Official Form 204                               List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                           Page 2

      
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                                                                                     Pg 17 of 18 Case number (if known)
            Debtor                    Sears, Roebuck and Co.
                                      Name
     
Name of creditor and complete mailing               Name, telephone number, and              Nature of the      Indicate if    Amount of unsecured claim 
address, including zip code                         email address of creditor contact          claim (for        claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                            example, trade     contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                              debts, bank     unliquidated,    claim amount and deduction for value of collateral or 
                                                                                                 loans,        or disputed     setoff to calculate unsecured claim. 
                                                                                             professional 
                                                                                             services, and 
                                                                                             government 
                                                                                               contracts) 
                                                                                                                               Total claim, if     Deduction for      Unsecured  claim 
                                                                                                                               partially           value of 
                                                                                                                               secured             collateral or 
                                                                                                                                                   setoff 
18      Tata Consultancy Services Ltd.              Attn.:  President or General Counsel    Trade Payable                                                                  $5,333,545.00 
        Attn.:  President or General Counsel        Phone:  732‐590‐2600 
        379 Thornal Street, 4th Floor               Facsimile:   
        Edison, New Jersey 08837                    Email: 

19      Active Media Services Inc.                  Attn.:  President or General Counsel    Trade Payable                                                                  $5,192,874.00 
        Attn.:  President or General Counsel        Phone:  845‐735‐1700 
        1 Blue Hill Plaza                           Facsimile:  845‐735‐0717 
        Pearl River, New York 10965                 Email: 


20      Automotive Rentals Inc.                     Attn.:  President or General Counsel    Trade Payable                                                                  $4,830,313.00 
        Attn.:  President or General Counsel        Phone:   
        4001 Leadenhall Road                        Facsimile:   
        Mount Laurel, New Jersey 08054‐4611         Email: 




    Official Form 204                               List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                           Page 3

     
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Fill in this information to identify the case:

Debtor name:  Sears, Roebuck and Co.
United States Bankruptcy Court for the: Southern District of New York
                                                                  (State)
Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
        ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
        ☐      Other document that requires a declaration
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on October 15, 2018
                                                      /s/ Robert A. Riecker
                      MM / DD / YYYY                   Signature of individual signing on behalf of debtor

                                                       Robert A. Riecker
                                                       Printed name

                                                       Chief Financial Officer
                                                       Position or relationship to debtor

 
 
 


Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors


 
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